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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.

 YVOLAINE CLEDOR,

        Plaintiff,
 v.

 VERIZON WIRELESS,

       Defendant.
 ________________________________/

                                             COMPLAINT

        Plaintiff Yvolaine Cledor (“Plaintiff”) files this Complaint against Defendant Verizon

 Wireless (“Verizon Wireless”) and alleges as follows:

                                       NATURE OF ACTION

        1.      Defendant Verizon Wireless violated the Telephone Consumer Protection Act and

 the Florida Consumer Collections Practices Act by placing phone calls to Plaintiff’s cellular

 phone, who was the wrong person, and using an automatic telephone dialing system or

 pre-recorded or artificial voice.

        2.      Plaintiff alleges a violation of her fundamental rights under the Telephone

 Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”). Defendant Verizon Wireless used

 an automated dialer to repeatedly call Plaintiff’s cellular phone, which is a per se violation of the

 TCPA. 47 U.S.C. § 227(b)(1)(A)(iii).

        3.      Plaintiff also alleges violations of the Florida Consumer Collection Practices Act

 (“FCCPA”). Fla. Stat. §§ 559.55-559.785.




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                                             Wites & Kapetan, P.A.
                            4400 North Federal Highway, Lighthouse Point, FL 33064
                                  (954) 570-8989 (phone); (954) 354-0205 (fax)
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                                    JURISDICTION AND VENUE

        4.      This Court has jurisdiction under 28 U.S.C. § 1331, 47 U.S.C. §227, and pursuant

 to 28 U.S.C. § 1367 for pendent state law claims. Venue in this District is proper because

 Plaintiff resides here and Defendant placed telephone calls to Plaintiff in this District.

                                                PARTIES

        5.      Plaintiff Yvolaine Cledor is a natural person and citizen of the State of Florida, and

 a resident of Palm Beach, Florida.

        6.      Defendant Verizon Wireless is a Delaware corporation.

                                    FACTUAL ALLEGATIONS

       9.       On December 20, 1991, Congress enacted the TCPA to govern and restrict

 telemarketing activities conducted via phone and facsimile. Congress passed the Act based, in

 part, on the following findings:

        (a)     The use of the telephone to market goods and services to the home and other
 businesses is now pervasive due to the increased use of cost-effective telemarketing techniques.

        (b)      Over 30,000 businesses actively telemarket goods and services to business and
 residential customers.

        (c)     More than 300,000 solicitors call more than 18,000,000 Americans every day.

        (d)    Total United States sales generated through telemarketing amounted to
 $435,000,000,000 in 1990, a more than four-fold increase since 1984.

       (e)    Unrestricted telemarketing, however, can be an intrusive invasion of privacy and,
 when an emergency or medical assistance telephone line is seized, a risk to public safety.

         (f)    Many consumers are outraged over the proliferation of intrusive, nuisance calls to
 their homes from telemarketers.

         (g)    The U.S. Constitution does not prohibit restrictions on commercial telemarketing
 solicitations.

        (h)     Individuals' privacy rights, public safety interests, and commercial freedoms of

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 speech and trade must be balanced in a way that protects the privacy of individuals and permits
 legitimate telemarketing practices.

        (i)     Evidence compiled by the Congress indicates that residential telephone subscribers
 consider automated or prerecorded telephone calls, regardless of the content or the initiator of the
 message, to be a nuisance and an invasion of privacy.

        (j)     Technologies that might allow consumers to avoid receiving such calls are not
 universally available, are costly, are unlikely to be enforced, or place an inordinate burden on the
 consumer.

         (k)     Banning such automated or prerecorded telephone calls to the home, except when
 the receiving party consents to receiving the call or when such calls are necessary in an emergency
 situation affecting the health and safety of the consumer, is the only effective means of protecting
 telephone consumers from this nuisance and privacy invasion.

        (l)     Businesses also have complained to the Congress and the Federal Communications
 Commission that automated or prerecorded telephone calls are a nuisance, are an invasion of
 privacy, and interfere with interstate commerce.

       Section 2 of Pub. L. 102-243 (Congressional Statement of Findings).

         10.     As explained by The United States Supreme Court:

         “Unrestricted telemarketing,” Congress determined, “can be an intrusive invasion
         of privacy.” TCPA, 105 Stat. 2394, note following 47 U.S.C. § 227 (Congressional
         Findings) (internal quotation marks omitted). In particular, Congress reported,
         “[m]any consumers are outraged over the proliferation of intrusive, nuisance
         [telemarketing] calls to their homes.” Ibid. (internal quotation marks omitted).
         “[A]utomated or prerecorded telephone calls” made to private residences, Congress
         found, were rightly regarded by recipients as “an invasion of privacy.”

 Mims v. Arrow Financial Services, LLC, 132 Sup. Ct. 740, 745 (2012)(citations omitted).

         11.     Defendant, or others acting at its request, used an automatic telephone dialing

 system or a pre-recorded or artificial voice to place telephone calls to Plaintiff’s cellular telephone.

         12.     Plaintiff began receiving phone calls on her cellular phone from Defendant in the

 fall of 2014. These phone calls were made using an automatic telephone dialing system or

 pre-recorded or artificial voice.

         13.     Each of Defendant’s phone calls was for a “Brian.” Plaintiff is not “Brian,” and

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 does not know “Brian.”

         14.     In the fall of 2014, Plaintiff informed Defendant that she was not “Brian,” and

 requested that Defendant stop calling her.

         15.     Nonetheless, Defendant continued to call Plaintiff using an automated telephone

 dialing system or a pre-recorded or artificial voice.

         16.     Defendant’s initiation of these phone calls to Plaintiff, using an automatic

 telephone dialing system or a pre-recorded or artificial voice, is a per se violation of the TCPA.

         17.     Defendant’s continued calling of Plaintiff’s cellular phone after being specifically

 instructed to stop was a willful and/or knowing violation of the TCPA.

         18.     None of Defendant’s telephone calls placed to Plaintiff were for “emergency

 purposes” as specified in 47 U.S.C § 227 (b)(1)(A).

                                      COUNT I
                      VIOLATIONS OF THE TELEPHONE CONSUMER
                        PROTECTION ACT AGAINST DEFENDANT

         19. Plaintiff repeats the allegations set forth in paragraphs 1 through 18 above as if fully

  restated herein.

         20.   Defendant, or others acting at its request, placed non-emergency telephone calls to

 Plaintiff’s cellular telephone using an automatic telephone dialing system or pre-recorded or

 artificial voice in violation of 47 U.S.C § 227 (b)(1)(A)(iii).

         21.     Defendant knowingly and intentionally violated the TCPA by placing phone calls

 to Plaintiff’s cellular phone using an automatic telephone dialing system or pre-recorded or

 artificial voice after being instructed to stop.

         WHEREFORE, Plaintiff requests that this Court enter judgment in favor of Plaintiff and

 against Defendant for:

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         a. Damages;

         b. A declaration that Defendant’s calls violate the TCPA;

         c. A permanent injunction prohibiting Defendant from placing non-emergency calls to

 Plaintiff’s cellular telephone using an automatic telephone dialing system or pre-recorded or

 artificial voice; and

         d. Such other or further relief as the Court deems proper.

               COUNT II – VIOLATION OF FCCPA AGAINST DEFENDANT

         22.     Plaintiff repeats the allegations set forth in paragraphs 1 through 18 above as if

fully restated herein.

         23.     This is an action for damages for violation of the FCCPA.                Fla. Stat.   §§

 559.55-559.785.

         24.     Defendant’s actions constitute harassment and abuse of the Plaintiff given the

 amount of communications with Plaintiff after she told the caller to specifically stop calling. Fla.

 Stat. § 559.72(7).

         25.     Plaintiff has retained the undersigned counsel for the purposes of pursuing this

 matter against Defendant and is obligated to pay said counsel a reasonable fee for their services.

 The FCCPA provides for an award of attorney’s fees should Plaintiff prevail in this matter. Fla.

 Stat. § 559.77(2).

         WHEREFORE, Plaintiff requests that the Court enter judgment in favor of the Plaintiff

 and against Defendant for, under the FCCPA, damages, attorney’s fees, litigation expenses and

 costs of suit, and such other relief or further relief as the Court deems proper.

                                   REQUEST FOR JURY TRIAL

         Plaintiff hereby requests a trial by jury of all issues so triable as a matter of right.

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                             4400 North Federal Highway, Lighthouse Point, FL 33064
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      Dated: June 30, 2015

                                                      Respectfully submitted,


                                                      WITES & KAPETAN, P.A.
                                                      Attorneys for Plaintiff
                                                      4400 North Federal Highway
                                                      Lighthouse Point, FL 33064
                                                      954-570-8989
                                                      954-354-0205 (fax)


                                                      By: /s/ Marc A. Wites
                                                              MARC A. WITES
                                                              Fla. Bar No.: 24783
                                                              mwites@wklawyers.com
                                                              CHAD J. ROBINSON
                                                              Fla. Bar No. 56922
                                                              crobinson@wklawyers.com




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                                        Wites & Kapetan, P.A.
                       4400 North Federal Highway, Lighthouse Point, FL 33064
                             (954) 570-8989 (phone); (954) 354-0205 (fax)
